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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNYSLVANIA

 UNITED STATES OF AMERICA

                   v.                                Magistrate No. 21-659

                                                     [UNDER SEAL]

 DAVID STANTON




                        AFFIDAVIT FOR CRIMINAL COMPLAINT

       I, Matthew Patcher, a Special Agent (“SA”) with the Federal Bureau of Investigation,

being duly sworn, depose and state as follows:

                                        INTRODUCTION

       1.      This Affidavit is submitted in support of a criminal complaint charging DAVID

STANTON (hereinafter “STANTON”) with one count of Possession of Material Depicting the

Sexual Exploitation of a Minor, in violation of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) (“TARGET

OFFENSE”).

       2.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), assigned

to the Pittsburgh, Pennsylvania office. I have been employed as a Special Agent with the FBI

since October 2012. As part of my duties, I investigate violations of federal law, including the

online exploitation of children, including violations pertaining to the illegal possession, receipt,

transmission, and production of material depicting the sexual exploitation of minors, and the

interstate travel by adults for the purpose of engaging in unlawful sexual acts with children. I have

gained expertise in the conduct of such investigations through training in the area of child

pornography and child exploitation investigations in seminars, classes, and everyday work related
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to conducting these types of investigations, and I have had the opportunity to observe and review

numerous examples of child pornography in a variety of media, including computer media. By

virtue of my FBI employment, I perform and have performed a variety of investigative tasks,

including the execution of federal search warrants and seizures, and the identification and

collection of computer-related evidence. I have personally participated in the execution of

numerous federal arrest warrants, search warrants involving the search and seizure of computer

equipment is cases involving violations of Sections 2250, 2251(a), 2252(a), 2422(a) and (b), and

2423—offenses involving the sexual exploitation of children, child pornography, and enticement.

       3.      Your affiant is aware that Title 18, United States Code, Sections 2252(a)(4)(B) and

(b)(2), make it a crime to knowingly possess one or more items which contain a visual depiction

of a minor engaging in sexually explicit conduct.

       4.      The facts set forth in this Affidavit are based on my personal knowledge,

knowledge obtained during my participation in this investigation, knowledge obtained from other

individuals, including other law enforcement personnel and computer forensic examiners, review

of documents and records related to this investigation, communications with others who have

personal knowledge of the events and circumstances described herein, and information gained

through my training and experience.

       5.      Because this Affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint, I have not set forth each and every fact learned

during the course of this investigation. I have set forth only the facts that I believe are necessary

to establish probable cause that STANTON committed the TARGET OFFENSE.




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                                         DEFINITIONS

       6.      The following definitions apply to this Affidavit:

               a.      “Minor,” as defined in 18 U.S.C. § 2256(1), means any person under the

age of 18 years.

               b.      “Child Pornography,” as used herein, includes the definition in 18 U.S.C.

§ 2256(8) (any visual depiction of sexually explicit conduct where (a) the production of the visual

depiction involved the use of a minor engaged in sexually explicit conduct; (b) the visual depiction

is a digital image, computer image, or computer-generated image that is, or is indistinguishable

from, that of a minor engaged in sexually explicit conduct; or (c) the visual depiction has been

created, adapted, or modified to appear that an identifiable minor is engaged in sexually explicit

conduct), as well as any visual depiction, the production of which involves the use of a minor

engaged in “sexually explicit conduct,” as that term is defined in 18 U.S.C. § 2256(2).

               c.      “Visual depictions” include undeveloped film and videotape, data stored on

computer disk or by electronic means, which is capable of conversion into a visual image, and data

which is capable of conversion into a visual image that has been transmitted by any means, whether

or not stored in a permanent format. See 18 U.S.C. § 2256(5).

               d.      “Sexually explicit conduct” means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, or oral-anal, whether between persons of the

same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the anus, genitals, or pubic area of any persons. See 18 U.S.C. § 2256(2).

               e.      “Internet Service Providers” or “ISPs” are commercial organizations which

provide individuals and businesses access to the Internet. ISPs provide a range of functions for

their customers, including access to the Internet, web hosting, e-mail, remote storage, and co-



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location of computers and other communications equipment. ISPs can offer various means by

which to access the Internet including telephone based dial-up, broadband based access via a

digital subscriber line (DSL) or cable television, dedicated circuits, or satellite based subscription.

ISPs typically charge a fee based upon the type of connection and volume of data, called bandwidth

that the connection supports. Many ISPs assign each subscriber an account name such as a user

name or screen name, an e-mail address, and an e-mail mailbox, and the subscriber typically

creates a password for the account. By using a computer equipped with a telephone or cable

modem, the subscriber can establish communication with an ISP over a telephone line or through

a cable system, and can access the Internet by using his or her account name and password.

               f.      “IP Address,” meaning, the Internet Protocol address (or simply “IP

address”) is a unique numeric address used by computers on the Internet. An IP address looks like

a series of four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

Every computer attached to the Internet must be assigned an IP address so that Internet traffic sent

from and directed to that computer may be directed properly from its source to its destination.

Most Internet service providers control a range of IP addresses. Some computers have static—

that is, long-term—IP addresses, while other computers have dynamic—that is, frequently

changed—IP addresses.

               g.      “Internet,” a global network of computers and other electronic devices that

communicate with each other. Due to the structure of the Internet, connections between devices

on the Internet often cross state and international borders, even when the devices communicating

with each other are in the same state.

                                         PROBABLE CAUSE

       7. On or about March 5, 2021, the Federal Bureau of Investigation (FBI) Pittsburgh office



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   executed a search warrant at 754 Brookline Boulevard, Storefront, Pittsburgh, PA

   15226. This warrant was issued under 21-472 and is incorporated herein for reference.

   STANTON was present during the search warrant execution. STANTON was advised

   by your Affiant he was not under arrest and was not required to speak to Agents.

   STANTON agreed to speak to your Affiant and another law enforcement officer

   without an attorney present. Although the following is not a full recount of the

   interview, it does contain pertinent facts relevant to this investigation. STANTON

   provided an e-mail address he utilized as djdavidstanton@gmail.com. STANTON said

   the black desktop computer located in his shop would contain child sexual abuse

   material (CSAM). STANTON identified a drive and folder where CSAM would be

   found.

8. Pursuant to the search warrant, multiple electronic items were seized. Among them was

   the desktop computer STANTON identified. It is more fully described as: a Generic

   Desktop Computer, No Identifying Marks; containing 4HDDs. A-Hitachi HDD P/N:

   590657-001, S/N: JP2740HP013Z0H, Capacity: 750GB, Manufactured in China. B-

   Western Digital HDD, M/N: WD15EARS, S/N: WCAZA7166011, Capacity: 1TB,

   Manufactured in Thailand. C- Toshiba HDD, M/N: DT01ACA100, S/N: Z25X1RGPS,

   Capacity: 1TB, Manufactured in China. D- Seagate Barracuda HDD, M/N:

   ST1000DM003, S/N: Z1D0M6H9, Capacity: 1TB, Manufactured in Thailand. A

   forensic examination and analysis of the generic desktop computer was conducted to

   look for evidence of the possession and/or distribution of CSAM. It should be noted,

   the below is based on preliminary findings of the examination and analysis; although

   more evidence may be identified the below findings will not be affected.



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       9. An examination of Hard Drive A-Hitachi HDD P/N: 590657-001, S/N:

             JP2740HP013Z0H, Capacity: 750GB, Manufactured in China, contained the operating

             system. The registered owner was djdavidstanton@gmail. A preview of the videos

             revealed at least 10 videos containing apparent CSAM. One video was titled “1.avi” is

             22:14 minutes in length and is a compilation of apparent child pornography videos.

             The video depicts minor females being sexually assaulted in a variety of manners

             including anal penetration with objects and performing oral sex on adult males. An

             examination of Hard Drive B- Western Digital HDD, M/N: WD15EARS, S/N:

             WCAZA7166011, Capacity: 1TB, manufactured in Thailand was conducted.

             Numerous videos of bestiality and apparent CSAM were located. However, all except

             two of the CSAM videos had been deleted. Both of these videos were located in a folder

             named “Telegram”. One of these videos was titled “1_4940941874945851547.mp4” is

             2:06 minutes in length and depicts a naked minor female child with her arms and legs

             bound and a blindfold on. A dog is seen licking her vaginal area.

                                         CONCLUSION

       10.      Based on the foregoing, your Affiant respectfully submits that there is probable

cause to find that STANTON committed the TARGET OFFENSE; that is, violations of federal

law including, Possession of Material Depicting the Sexual Exploitation of a Minor, in violation

of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2).




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       11.    The above information is true and correct to the best of my knowledge, information,

and belief.

                                            /s/ Matthew Patcher
                                            MATTHEW PATCHER
                                            Special Agent
                                            Federal Bureau of Investigation



Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 24th day of March, 2021.



__________________________________________
HONORABLE PATRICIA L. DODGE
United States Magistrate Judge
Western District of Pennsylvania




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